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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

LAWANDA FOUREZ, INDIVIDUALLY,      )
AND AS ADMINISTRATOR OF THE        )
ESTATE OF FRANK FOUREZ,            )
DECEASED,                          )
                                   )
                       Plaintiffs, )
                                   )
      v.                           )                 No.    09-CV-19-DRH-DGW
                                   )
CHRISTOPHER GREATER AREA           )
RURAL HEALTH PLANNING CORP-        )
ORATION d/b/a ZEIGLER COMMUNITY )
HEALTH AND DENTAL CENTER;          )
DR. CLINT CONNER; MARION           )
HOSPITAL CORPORATION d/b/a         )
HEARTLAND REGIONAL MEDICAL         )
CENTER; HEARTLAND REGIONAL         )
MEDICAL CENTER, AN ILLINOIS        )
CORPORATION; AND SOUTHERN          )
ILLINOIS HOSPITAL SERVICES d/b/a   )
HERRIN HOSPITAL,                   )
                                   )
                       Defendants. )


                                   NOTICE OF REMOVAL

       Christopher Greater Area Rural Health Planning Corporation d/b/a Zeigler Community

Health and Dental Center, Clint Connor, M.D., and the United States of America, by their

attorneys, A. Courtney Cox, United States Attorney for the Southern District of Illinois, and

Nathan E. Wyatt, Assistant U.S. Attorney, respectfully notifies this Court of removal pursuant to

28 U.S.C. § 2679(d)(2) and 42 U.S.C. § 233(c).

       1.      Christopher Greater Area Rural Health Planning Corporation d/b/a Zeigler

Community Health and Dental Center and Clint Connor, M.D., are defendants in a civil action
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now pending in the Circuit Court of the First Judicial Circuit, Williamson County, Illinois,

entitled: Lawanda Fourez, Individually, and as Administrator of the Estate of Frank Fourez,

deceased v. Christopher Greater Area Rural Health Planning Corporation d/b/a Zeigler

Community Health and Dental Center, Zeigler Community Health and Dental Center, Dr. Clint

Connor, Marion Hospital Corporation, d/b/a Heartland Regional Medical Center, an Illinois

Corporation, and Southern Illinois Hospital Services d/b/a Herrin Hospital. A copy of the

summons and complaint is attached as Exhibit 1.

       2.      In the complaint, the plaintiff alleges that defendants committed medical

negligence.

       3.      This action is removable without bond pursuant to 42 U.S.C. § 233 and 28 U.S.C.

§ 2679(d)(2). Dr. Connor was at all relevant times a deemed employee of the United States

Public Health Service, and thus the United States of America. The Christopher Greater Area

Rural Health Planning Corporation is also a deemed “employee” of the United States of America

pursuant to 42 U.S.C. § 233(g)(1)(a) and (g)(4).

       4.      Pursuant to 42 U.S.C. § 233(c), the Attorney General, through the United States

Attorney, has certified that Dr. Connor and the Christopher Greater Area Health Planning

Corporation were acting within the scope of their deemed employment at the time the claim

arose. See Exhibit B. The authority to certify scope of office or employment has been delegated

to the United States Attorney. See 28 C.F.R. §§ 15.3, 15.4 (Appx.).

       5.      Upon such certification, any civil proceeding in a state court may be removed to

the United States District Court, and such action shall be deemed to be against the United States

as a substituted party. 42 U.S.C. § 233(c).


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       6.      Copies of the notice of removal are being served upon the plaintiff and the Office

of the Clerk of the Circuit Court of the First Judicial Circuit, Williamson County, Illinois.

       WHEREFORE, the United States of America and Defendants Christopher Greater Area

Rural Health Planning Corporation d/b/a Zeigler Community Health and Dental Center and Clint

Connor, M.D., remove this action to the United States District Court for the Southern District of

Illinois pursuant to 28 U.S.C. § 2679(d)(2) and 42 U.S.C. § 233(c).



                                              Respectfully submitted,

                                              A. COURTNEY COX
                                              United States Attorney

                                              s/Nathan E. Wyatt

                                              NATHAN E. WYATT
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              Nine Executive Drive
                                              Fairview Heights, IL 62208-1344
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS

LAWANDA FOUREZ, INDIVIDUALLY,      )
AND AS ADMINISTRATOR OF THE        )
ESTATE OF FRANK FOUREZ,            )
DECEASED,                          )
                                   )
                       Plaintiffs, )
                                   )
      v.                           )                   No.
                                   )
CHRISTOPHER GREATER AREA           )
RURAL HEALTH PLANNING CORP-        )
ORATION d/b/a ZEIGLER COMMUNITY )
HEALTH AND DENTAL CENTER;          )
DR. CLINT CONNER; MARION           )
HOSPITAL CORPORATION d/b/a         )
HEARTLAND REGIONAL MEDICAL         )
CENTER; HEARTLAND REGIONAL         )
MEDICAL CENTER, AN ILLINOIS        )
CORPORATION; AND SOUTHERN          )
ILLINOIS HOSPITAL SERVICES d/b/a   )
HERRIN HOSPITAL,                   )
                                   )
                       Defendants. )

                                       Certificate of Service

       I hereby certify that on January 8, 2009, I caused to be electronically filed this NOTICE

OF REMOVAL with the Clerk of Court, using the CM/ECF system, which will send

notification of such filing(s) to the following:

                                            None Known




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      Notice will be sent by United States certified mail to the following unregistered participants:
      Honorable Stuart Hall                          Mark D. Prince
      Circuit Clerk                                  Attorney for Plaintiff
      Williamson County Courthouse                   P.O. Box 1030
      200 West Jefferson                             Carbondale, IL 62903
      Marion, IL 62959

                                             Respectfully submitted,

                                             A. COURTNEY COX
                                             United States Attorney

                                             /s/ Nathan E. Wyatt
                                             NATHAN E. WYATT
                                             Assistant United States Attorney




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